Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17         Page: 1 of 31 - Page
                                         ID#: 233



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

      UNITED STATES OF AMERICA,                    )
                                                   )
            Plaintiff,                             )          No. 5:17-CR-86-DCR-REW
                                                   )
      v.                                           )
                                                   )      RECOMMENDED DISPOSITION
      STEVEN D. HARVEY and                         )
      CHRISTOPHER D. WASHINGTON,                   )
                                                   )
            Defendants.                            )

                                     *** *** *** ***

           Defendants Steven D. Harvey and Christopher D. Washington each filed a motion

  to suppress. DE ##18, 20 (Motions). The United States responded in opposition. DE #30

  (Response). Harvey replied. DE #31 (Reply). The Court held a joint hearing on

  September 5, 2017, where it heard the sworn testimony of four witnesses and admitted

  three exhibits. DE #34 (Minute Entry Order). The matters are ripe for consideration. For

  the following reasons, the Court RECOMMENDS that the District Judge wholly DENY

  the dual effort to suppress (DE ##18, 20).

  I.       FACTUAL BACKGROUND AND THE TESTIMONY1

           The motions center on the events of June 20, 2017, but the relevant background is

  necessary for full context. Defendant Steven Harvey had long been the target of law

  enforcement investigation, coordinated among or involving state and federal officials in

  different districts and states (including in Lexington, Louisville, and Arkansas). As

  relevant, in late-May 2017, the DEA learned that Harvey was allegedly trafficking

  1
    The digital record captured the hearings, and the Court bases its analysis on facts it
  finds premised on that record, to include the accompanying briefing and hearing exhibits.
                                               1
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17         Page: 2 of 31 - Page
                                        ID#: 234



  controlled substances (specifically, heroin) in the Lexington area (continuing similar

  behavior that law enforcement had investigated in 2016). The source of information told

  law enforcement that Harvey used Space Center Storage units to house the drugs; he

  would allegedly make trips to the units, pick up quantities of the substances, and

  distribute them to individuals throughout Lexington.

         To corroborate the provided storage unit information, law enforcement used

  administrative subpoenas to identify the registered renters of certain storage units,

  ultimately tagging Mark Byrd (Harvey’s father) as the renter of unit R7006 and Shana

  McCann as the renter of unit R3045. Law enforcement, due to prior investigation, knew

  the contact telephone number Ms. McCann provided to the storage center to be a number

  Harvey utilized. Officers conducted video surveillance and monitored use of the unique

  storage unit site access codes. Further, they deployed Bo, a certified LPD drug detection

  dog, on the units on two different dates. Bo positively alerted to both units on both

  occasions. During this investigation, officers placed Harvey physically on site at Space

  Center Storage, using the R7006 code and entering near R3045. Law enforcement

  ultimately obtained state search warrants for each storage unit. Upon execution—around

  1:17 p.m. on June 20, 2017—officers found a large amount of heroin, bulk currency, and

  other evidentiary items in R3045, but no items of evidentiary value in R7006. Post-

  searches, Agent Moore maintained custody over the R3045 lock, but not the R7006 lock.

  The DEA knew the unit lessee provided the lock for each unit at the storage center.

         Using cell location tracking data, around 1:45 p.m. on June 20, law enforcement

  established surveillance of Harvey, then at Dick’s Sporting Goods at Fayette Mall,

  driving a Yukon. Officers observed Harvey accompanied, at least during parts of the



                                              2
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17         Page: 3 of 31 - Page
                                        ID#: 235



  afternoon, by a black man later (likely) identified as Co-Defendant Christopher

  Washington (although police did not know the man’s identity at the time). [Law

  enforcement could not say with absolute certainty that the black male companion during

  the afternoon was, in fact, Washington. All Moore said was that he had no reason to

  believe the companion was not Washington.] After Harvey left Dick’s, he went to

  Zaxby’s, returned home on Grayson Lake Drive, drove back to Zaxby’s, and then

  returned home again. Agents affirmatively saw the man later identified as Washington

  arriving with Harvey at the residence. Officers surveilling the residence observed Harvey

  and Washington making trips in and out of the Audi parked in the driveway. Around 4:40

  p.m., Harvey and Washington exited the residence together, and law enforcement moved

  into the scene to effectuate a probable-cause arrest of Harvey based on the storage unit

  heroin.

            Lexington Police Department Detective Blake Leathers and a second officer

  approached Harvey, giving him verbal orders to go to the ground. Harvey complied.

  Leathers made contact, handcuffed Harvey, and began to stand him back up. When

  Harvey began to rise, Leathers observed a set of keys with a lanyard underneath his body.

  The keys, Leathers said, had been on Harvey’s person, in his possession, as he was on the

  ground.

            Lexington Police Department Detective and DEA TFO Robert Hart, without

  drawing his weapon, approached Washington (although Hart did not know which person

  he was approaching at the time) near the front passenger fender of the Audi in the

  driveway. Hart verbally instructed Washington to the ground; Washington complied.

  Hart, within moments, was straddled on top of him, applying pressure to his back. Hart



                                             3
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17         Page: 4 of 31 - Page
                                         ID#: 236



  cuffed Washington’s hands behind his back. During the process, while Washington was

  on the ground, Hart asked him “if he had any weapons”; Washington advised that he did

  and asked “if there was anything wrong with that.” [Hart testified he had no indication

  Washington was armed until Washington’s statement.] Hart said that the question came

  “during” the period of time he was cuffing Washington, in a fluid interaction, “as that

  procedure was going on”; Hart also testified, though, that that he did not think the cuffs

  were yet applied at the time of the question. Hart stated that he did not give Washington

  Miranda warnings before inquiring about weapon possession.

         Hart said that, at the time, he did not know Washington and did not know his

  criminal history; he asked the weapon question solely for purposes of officer safety based

  on, according to his training and experience, a likelihood that associates of a large-scale

  drug trafficker (Harvey)—whom officers had previously observed armed and who has a

  criminal history involving firearms offenses—would likely also be armed. Hart affirmed

  that locating any weapons at Harvey’s arrest scene was “absolutely” an officer safety

  issue. Even with the positive response on weapon possession, though, Hart did not

  immediately search Washington. He said the response “did not heighten anything”

  regarding their physical contact; Washington remained compliant with all instructions,

  and everything seemed to Hart to be under control. Law enforcement subsequently patted

  Washington down and located a firearm on his person. [This is the Count 2 basis.]

  Washington also admitted to Lexington Police Detective Danny Page, who further ran a

  records check of Washington’s status, that he is a convicted felon.




                                              4
Case: 5:17-cr-00086-DCR-MAS            Doc #: 54 Filed: 09/11/17       Page: 5 of 31 - Page
                                          ID#: 237



           Hart described his role as a canine handler for Bo, a USPCA-certified2 drug

  detection dog. He described the applicable training regimen (including controlled

  deployments in rooms, on cars, and on packages) and the yearly recertification process.

  Hart called the USPCA the “gold standard” in canine certification. Hart has been Bo’s

  only handler since Bo began the job. TFO Hart described the standard detection

  procedure he uses for Bo and stated that he is a passive alert dog—Bo sits when he

  positively alerts for the odor of a controlled substance. Hart testified that Bo’s last

  recertification was in May 2017. His initial certification was in fall 2012; he has had no

  performance-based lapse in certification. Post-arrests on June 20, Hart deployed Bo on

  the Audi in the driveway, as well as the Yukon and Caprice parked on the street, parallel

  with the curb, in front of the home. Bo positively alerted on all three vehicles for the

  presence of narcotics odor; law enforcement then searched the Caprice and Yukon. Page

  testified that the Caprice appeared to be mobile, and Harvey had driven the Yukon earlier

  that very day.

           After officers had secured the scene at Grayson Lake Drive, Agent Moore arrived

  and took possession of the keys previously found underneath Harvey. Moore located a

  key that fit the R3045 lock and opened the lock. He also called the number associated

  with the R3045 storage unit, and a phone that had been in Harvey’s possession rang.

  Harvey disclaimed ownership of the keys and the phone. Officers arrested both men on

  probable cause, initiating the current case.




  2
      USPCA stands for United States Police Canine Association.
                                                 5
Case: 5:17-cr-00086-DCR-MAS            Doc #: 54 Filed: 09/11/17           Page: 6 of 31 - Page
                                          ID#: 238



  II.    ANALYSIS

         A.      General Legal Principles

         The Fourth Amendment generally prohibits unreasonable searches and seizures.

  This case implicates several well developed Fourth Amendment doctrines.

         As a starting point, the Court recognizes the “basic rule that searches conducted

  outside the judicial process, without prior approval by judge or magistrate, are per se

  unreasonable under the Fourth Amendment—subject only to a few specifically

  established and well-delineated exceptions.” United States v. McCraney, 674 F.3d 614,

  618 (6th Cir. 2012) (internal quotation marks removed). One such “recognized

  exception” is a search incident to arrest. Id. “This exception authorizes the warrantless

  search of the arrestee’s person and the area within his immediate control.” Id. at 618-19

  (internal quotation marks removed). The search incident to arrest doctrine is “a

  straightforward rule” that a “lawful arrest . . . establishes the authority to search” and that

  “a full search of the person is reasonable in the case of a lawful custodial arrest.” United

  States v. Hudgins, 52 F.3d 115, 118 (6th Cir. 1995) (quoting United States v. Robinson,

  94 S. Ct. 467, 477 (1973) (rejecting earlier limiting language in Chimel)); see also

  Robinson, 94 S. Ct. at 474 (referencing “the traditional and unqualified authority of the

  arresting officer to search the arrestee’s person”). The area “within a person’s immediate

  control” includes “the area from within which he might gain possession of a weapon or

  destructible evidence.” Northrop v. Trippett, 265 F.3d 372, 379 (6th Cir. 2001).

  “However, the right to search an item incident to arrest exists even if that item is no

  longer accessible to the defendant at the time of the search. So long as the defendant had




                                                6
Case: 5:17-cr-00086-DCR-MAS              Doc #: 54 Filed: 09/11/17         Page: 7 of 31 - Page
                                            ID#: 239



  the item within his immediate control near the time of his arrest, the item remains subject

  to a search incident to arrest.” Id. (citing cases).

          As is relevant on these facts, “the mere insertion of a key into a lock, by an officer

  who lawfully possesses the key and is in a location where he has a right to be, to

  determine whether the key operates the lock, is not a search.” United States v. Salgado,

  250 F.3d 438, 456 (6th Cir. 2001); see also United States v. Stewart, 315 F. App’x 554,

  560 (6th Cir. 2009) (same). The Sixth Circuit particularly found persuasive a First Circuit

  case “holding that the insertion of a key into the padlock of a storage unit was not a

  search, or, in the alternative, was not an unreasonable search prohibited by the Fourth

  Amendment.” See Salgado, 250 F.3d at 456 (describing United States v. Lyons, 898 F.2d

  210 (1st Cir. 1990)). Lyons “noted that the insertion of the key into the lock of the storage

  unit was merely a means of identifying a storage unit to which the defendant had access,”

  and that “it is th[e] contents that are the object of the lessee’s privacy expectations, not

  the padlock.” Id. (characterizing and quoting Lyons).

          Another exception to the general rule is the so-called automobile exception. See

  California v. Carney, 105 S. Ct. 2066, 2068-69 (1985). Under the automobile exception,

  “[i]f a car is readily mobile and probable cause exists to believe it contains contraband,

  the Fourth Amendment . . . permits police to search the vehicle without more.”

  Pennsylvania v. Labron, 116 S. Ct. 2485, 2487 (1996) (per curiam). The probable cause

  determination (there and in all cases) generally requires a common sense, totality of the

  circumstances assessment of the basis for a seizure or search. See, e.g., United States v.

  Torres-Ramos, 536 F.3d 542, 554-55 (6th Cir. 2008). A court must determine whether

  “‘the facts and circumstances within [the officers’] knowledge and of which [they] had



                                                  7
Case: 5:17-cr-00086-DCR-MAS            Doc #: 54 Filed: 09/11/17           Page: 8 of 31 - Page
                                          ID#: 240



  reasonably trustworthy information [are] sufficient to warrant a man of reasonable

  caution in the belief that’ an offense has been or is being committed.” United States v.

  Hughes, 606 F.3d 311, 320 (6th Cir. 2010) (quoting United States v. Davis, 430 F.3d 345,

  352 (6th Cir. 2005)). The standard requires “more than mere suspicion” but not “evidence

  to establish a prima facie case . . . much less evidence sufficient to establish guilt beyond

  a reasonable doubt.” United States v. Strickland, 144 F.3d 412, 416 (6th Cir. 1998).

  Importantly, the probable cause standard is objective. “Subjective intentions play no role

  in probable cause Fourth Amendment analysis.” Schneider v. Franklin Cnty., 288 F.

  App’x 247, 251 (6th Cir. 2008) (citing Whren v. United States, 116 S. Ct. 1769, 1773-74

  (1996)). The Court eschews hyper-technicality here and commonsensically probes and

  considers evidence. “If probable cause justifies a search of a vehicle . . ., then that

  probable cause extends to justify the search of every part of the vehicle and all containers

  found therein in which contraband could be hidden.” United States v. Crotinger, 928 F.2d

  203, 205 (6th Cir. 1991).

         Ready mobility, a key criterion, means “[t]he mere inherent mobility of the

  vehicle.” United States v. Howard, 489 F.3d 484, 494 (2d Cir. 2007) (holding an inquiry

  into “the proximity of the drivers and passenger to the vehicles” in an automobile

  exception situation to be “misplaced”); see also United States v. Graham, 275 F.3d 490,

  510 (6th Cir. 2001) (noting that the Labron truck’s ready mobility “was not questioned,

  despite the fact that . . . the defendants had been arrested outside of the truck and prior to

  the truck search”). Indeed, as the Sixth Circuit has directly stated, a vehicle’s mere

  “mobility” satisfies this element. Id. at 511; see also United States v. Brookins, 345 F.3d

  231, 238 (4th Cir. 2003) (holding “readily mobile” means “operational”).



                                                8
Case: 5:17-cr-00086-DCR-MAS            Doc #: 54 Filed: 09/11/17           Page: 9 of 31 - Page
                                          ID#: 241



         Further, in a dog-sniff situation, the probable cause determination is considerably

  more streamlined: an “alert by a properly trained and reliable drug-detection dog is

  sufficient to establish probable cause for the presence of a controlled substance.” United

  States v. Winters, 782 F.3d 289, 304 (6th Cir. 2015); see also, e.g., United States v.

  Sharp, 689 F.3d 616, 618-19 (6th Cir. 2012) (same).3 Indeed, “such probable cause

  extends to every part of the vehicle and all containers found therein in which the object of

  the search could be hidden.” Winters, 782 F.3d at 304 (internal quotation marks

  removed).

         Relevant to Defendant Washington, “[w]here an individual is in an area

  immediately adjoining the arrestee, the individual may be placed in temporary protective

  detention even in the absence of probable cause or a reasonable suspicion that the

  individual poses a threat to officer safety.” United States v. Kinzalow, 236 F. App’x 414,

  418 (10th Cir. 2007) (citing United States v. Maddox, 388 F.3d 1356, 1362-63 (10th Cir.

  2004), which, in turn, relies on Tennessee v. Garner, 105 S. Ct. 1694 (1985) and

  Maryland v. Buie, 110 S. Ct. 1093 (1990)). Simply put, “the governmental interest in

  securing the area around [an] arrestee and protecting officers from potential danger is

  sufficient to justify the temporary detention of [a] bystander.” Maddox, 388 F.3d at 1363

  (internal quotation marks and alterations removed). The Sixth Circuit has directly

  instructed that “police have the limited authority to briefly detain those on the scene, even

  wholly innocent bystanders, as they execute a[n] . . . arrest warrant.” Cherrington v.


  3
    See also Florida v. Harris, 133 S. Ct. 1050, 1057 (2013) (“If a bona fide organization
  has certified a dog after testing his reliability in a controlled setting, a court can presume
  (subject to any conflicting evidence offered) that the dog’s alert provides probable cause
  to search. The same is true, even in the absence of formal certification, if the dog has
  recently and successfully completed a training program that evaluated his proficiency in
  locating drugs.”). Officer Hart’s proof stands alone regarding Bo’s qualifications.
                                                9
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 10 of 31 - Page
                                         ID#: 242



  Skeeter, 344 F.3d 631, 638 (6th Cir. 2003) (citing Michigan v. Summers, 101 S. Ct. 2587,

  2595 (1981)); see also, e.g., United States v. Lawrence, No. 1:17 CR 16 SNLJ (ACL),

  2017 WL 2859258, at *3-5 (E.D. Mo. July 5, 2017).

         These facts also may require consideration of Terry principles. The general rule

  under Terry v. Ohio, 88 S. Ct. 1868 (1968), is that “‘where a law enforcement officer

  lacks probable cause, but possesses a reasonable and articulable suspicion that a person

  has been involved in criminal activity, he may detain the suspect briefly to investigate the

  suspicious circumstances.’ United States v. Bentley, 29 F.3d 1073, 1075 (6th Cir. 1994).”

  United States v. Foster, 376 F.3d 577, 584 (6th Cir. 2004). Reasonable suspicion “must

  be supported by specific and articulable facts that would ‘warrant a man of reasonable

  caution in the belief that the action taken was appropriate.’” United States v. Blair, 524

  F.3d 740, 748 (6th Cir. 2008) (quoting Terry, 88 S. Ct. at 1880). “Reasonable suspicion is

  more than an ill-defined hunch; it must be based upon a particularized and objective basis

  for suspecting the particular person of criminal activity.” United States v. Collazo, 818

  F.3d 247, 257 (6th Cir. 2016). The “standard is less demanding than the probable-cause

  standard.” Id. “A determination regarding the existence of reasonable suspicion is based

  on the totality of the circumstances, and a reviewing court views the evidence offered in

  support of reasonable suspicion using a common sense approach, as understood by those

  in the field of law enforcement.” Id. (internal quotation marks and alteration removed).

         Terry also may permit a frisk / patdown—that is, “a reasonable search for

  weapons for the protection of the police officer, where he has reason to believe that he is

  dealing with an armed and dangerous individual, regardless of whether he has probable

  cause to arrest the individual for a crime[.] Terry does not require the officer to be



                                              10
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 11 of 31 - Page
                                         ID#: 243



  absolutely certain that the individual is armed; the issue is whether a reasonably prudent

  man in the circumstances would be warranted in the belief that his safety or that of others

  was in danger. Because a pat-down search is for the limited purpose of ensuring the

  safety of the officer and others around him, the search must be confined in scope to an

  intrusion reasonably designed to discover guns, knives, clubs, or other hidden instruments

  for the assault of the police officer.” United States v. Wilson, 506 F.3d 488, 492 (6th Cir.

  2007) (internal quotation marks and citations omitted).

         B. Harvey’s Motion

             1. Probable Cause to Arrest

         The Court begins, for thoroughness, with the foundation of the events of June 20:

  whether law enforcement had probable cause to arrest Harvey. The Court has already

  found that officers did. See DE #7 (finding “that probable cause exists to believe that

  Defendant committed the crime as alleged in the Complaint”).

         Probable cause is a common-sense, “fluid,” “practical,” and “nontechnical”

  analysis that looks (through an objective prism) to the totality of the circumstances

  known to law enforcement at the time. Maryland v. Pringle, 124 S. Ct. 795, 799-800

  (2003); Illinois v. Gates, 103 S. Ct. 2317, 2331-33 (1983). The Court probes whether “the

  facts and circumstances within [the officers’] knowledge and of which [they] had

  reasonably trustworthy information [are] sufficient to warrant a man of reasonable

  caution in the belief that an offense has been or is being committed.” Hughes, 606 F.3d at

  320 (internal quotation marks removed).

         Here, as before, the Court has no trouble concluding that law enforcement had

  probable cause to arrest Harvey on June 20, 2017, for an alleged violation of 21 U.S.C. §



                                              11
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 12 of 31 - Page
                                         ID#: 244



  841(a)(1). Indeed, Harvey does not even contest the point. Simply put, the connection

  between Harvey and unit R3045, where law enforcement located a large amount of

  heroin and other contraband, is significant and certainly passes the probable cause

  threshold. The ties include the nominal renter (Ms. McCann), the cell phone link (Harvey

  had in his possession at the time of arrest the phone associated with the number related to

  R3045), Harvey’s possession of the key to access the unit, the SOI’s confirmatory

  information, and Harvey’s observed physical presence at the storage unit location. The

  Court thus reaffirms its prior conclusion that this set of circumstances established

  probable cause—as of the arrest date—to believe that Harvey violated 21 U.S.C. §

  841(a)(1).

               2. Seizure of a Lock, Seizure of Keys, and Subsequent Insertion of a Key
                  into a Lock

         The Court now turns to a topic that Harvey did not brief in any meaningful way,

  but did offhandedly mention (and which received correspondingly slight attention at the

  evidentiary hearing): the seizure of the storage unit locks themselves. See DE #31, at 2.

  Harvey does not, in any way, seek to invalidate the storage unit search warrant, a posture

  he confirmed at the hearing. As officers executed the warrant, they cut off the locks, and

  SA Moore maintained custody over the R3045 lock as evidence.

         As a starting point, the Court “place[s] no significance on the fact that the padlock

  . . . had to be removed before the [unit contents] could be fully examined.” United States

  v. Wilson, 524 F.2d 595, 599 (8th Cir. 1975); see also Lyons, 898 F.2d at 213 (“When

  viewed objectively, it is th[e] contents that are the object of the lessee’s privacy

  expectations, not the padlock.”). Courts harmoniously endorse the physical severance of a

  lock from the item or place it secures in the course of a lawful search of that item or

                                              12
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17         Page: 13 of 31 - Page
                                         ID#: 245



  place. See, e.g., United States v. Jackson, 120 F.3d 1226, 1228-29 (11th Cir. 1997) (“[A]

  warrant to search a specific area for a certain class of things authorizes government

  agents to break open locked containers which may contain the objects of the search.”);

  United States v. Kyles, 40 F.3d 519, 523-24 (2d Cir. 1994) (“Officers may force open a

  locked door on the premises if they have probable cause to believe the objects sought are

  behind it. . . . Accordingly, the agents were authorized to break the lock and search the

  room[.]”); United States v. Becker, 929 F.2d 442, 446 (9th Cir. 1991) (holding search

  warrant authorized agents’ “use of a jackhammer to search beneath [a] concrete slab”);

  United States v. Morris, 647 F.2d 568, 572-73 (5th Cir. Unit B 1981) (holding a search

  warrant for a home authorized search of “a locked jewelry box” contained in the home).

  Physically cutting the locks off the storage units to effectuate the search warrant’s

  authorization did not contravene the Fourth Amendment. Harvey does not contest this.

         Neither did law enforcement’s post-search retention of the R3045 lock. The state

  warrant (which, again, Harvey does not challenge) expansively authorized seizure of

  “items that would tend to indicate the illegal possession of, illegal use [of,] or illegal

  trafficking in a controlled substance[.]” DE #20-2, at 1. A lock securing the entry to a

  storage unit containing heroin certainly qualifies as an item of evidentiary value in the

  drug investigation. As law enforcement confirmed on the stand, the lock is evidentiary

  because controlling access to the storage unit quite reasonably evidences control over the

  contents of that storage unit—here, heroin. Identifying whether a person has a key that

  fits a lock securing a heroin hideaway has obvious evidentiary worth.




                                             13
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17          Page: 14 of 31 - Page
                                          ID#: 246



         Separate from the warrant basis,4 “[i]f an article is already in plain view,” as the

  lock was, “neither its observation nor its seizure would involve any invasion of privacy.”

  Horton v. California, 110 S. Ct. 2301, 2306 (1990). Accordingly, “[i]t is well established

  that under certain circumstances the police may seize evidence in plain view without a

  warrant.” Id. The prime example is a “situation in which the police have a warrant to

  search a given area for specified objects, and in the course of the search come across

  some other article of incriminating character.” Id. at 2307. The Sixth Circuit, distilling

  the Supreme Court’s guidance, has held application of the plain view exception to require

  “four factors”: that (1) “officers be legally present,” (2) officers “see something that

  immediately appears to be evidence,” (3) “the item seized must actually be in plain

  view,” and (4) “the officer must also have a lawful right of access to the object itself.”

  United States v. McLevain, 310 F.3d 434, 439 (6th Cir. 2002) (internal quotation marks

  removed); see also United States v. Garcia, 496 F.3d 495, 508 (6th Cir. 2007) (similar 4-

  part test). The parties do not address this basis for lock seizure in the briefing, but the

  United States referenced it at the hearing and all four factors are present: the officers
  4
    Admittedly, the seizure authorization in the state warrant is of less than perfect clarity.
  Quoting the totality, the warrant authorized seizure of: “Heroin and other narcotics, notes,
  letters, writings documents [sic], photographs, monies, safes, weapons, and or [sic]
  paraphernalia. These items that would tend to indicate the illegal possession of, illegal
  use [sic] or illegal trafficking in a controlled substance in violation of the Kentucky
  Revised Statute.” DE #20-2, at 1. The second “sentence” is actually a fragment, and it
  arguably (though Harvey does not argue it), through use of the word “these,” merely
  intends to describe or restate the previous list of items subject to seizure. The Court
  concludes that the interpretation previously espoused is the better one, though, because
  (1) the more natural reading is for the fragment to be a separate, more expansive seizure
  authorization instead of essentially a nullity, merely restating and adding nothing to what
  the warrant already authorized; and (2) the alternative, limited reading has inherent
  absurdities, such as Judge Thornton allegedly describing heroin itself as an “item that
  would tend to indicate the illegal possession of” heroin. The Court finds it incredible that
  Judge Thornton, as she crafted the warrant, would state her authorization in a nonsensical
  way. Due to the possible interpretive room, however, the Court alternatively analyzes the
  plain view exception.
                                               14
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 15 of 31 - Page
                                         ID#: 247



  were legally present at the storage units (indeed, they had warrants to search them), they

  saw a lock that immediately appeared to have evidentiary value (per the logic expressed

  above and on the stand), the seized lock was actually in plain view (SA Moore said so),

  and the officers had a lawful right of access to the lock (per the warrant authorization

  analysis above). Accordingly, regardless of the posture as to the textual warrant seizure

  authorization, law enforcement validly seized the R3045 lock pursuant to the plain view

  exception. The exterior lock on a container storing contraband is subject to plain view

  seizure.

         The Court now turns to the seizure of the keys from Harvey’s person at the time

  of arrest, a topic of greater briefing attention. Seizure of the keys was lawful pursuant to

  the search incident to lawful arrest doctrine, which authorizes the warrantless search of an

  arrestee’s person and the area within his immediate control. McCraney, 674 F.3d at 618-

  19. The area “within a person’s immediate control” includes “the area from within which

  he might gain possession of a weapon or destructible evidence.” Northrop, 265 F.3d at

  379. “However, the right to search an item incident to arrest exists even if that item is no

  longer accessible to the defendant at the time of the search. So long as the defendant had

  the item within his immediate control near the time of his arrest, the item remains subject

  to a search incident to arrest.” Id. (citing cases). The search incident to arrest doctrine

  authorizes seizure of any subject items. See, e.g., Davis v. Robbs, 794 F.2d 1129, 1131

  (6th Cir. 1986).

         Here, Detective Leathers testified that he discovered the keys directly underneath

  Harvey after raising him up from the ground, the location of Harvey’s handcuffing.

  Immediately prior to Harvey going to the ground, per Leathers, the keys had been in



                                              15
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17           Page: 16 of 31 - Page
                                          ID#: 248



  Harvey’s possession—on his person. The area directly underneath a person being raised

  from the ground obviously is an area within that person’s immediate control, and Harvey

  “had the [keys] within his immediate control near the time of his arrest.” Northrop, 265

  F.3d at 379. Whether the keys were still accessible to Harvey at the time of their seizure

  is of no consequence in the analysis. Id.; United States v. Romero, 452 F.3d 610, 619-20

  (6th Cir. 2006) (holding, applying this principle, that the district court’s “conclusion” that

  “that the search of the hotel nightstand violated the Fourth Amendment because Santiago

  had already been restrained by the time the officers searched the nightstand, and therefore

  Santiago would have been unable to reach the nightstand at the time of the search” was

  “erroneous” because “the law does not require that an area be accessible to the defendant

  at the time of a search incident to arrest for the search to be valid”). Finally, as the Court

  previously determined, Harvey’s arrest was lawful. Accordingly, the search incident to

  arrest doctrine permitted law enforcement’s seizure of the keys. See also United States v.

  Shelton, 742 F. Supp. 1491, 1495-96 (D. Wyo. 1990) (collecting cases for the proposition

  that police may seize keys from a person during a search incident to arrest).

         Finally, the Court addresses the subsequent insertion of the keys into the lock.

  Happily, the Sixth Circuit has provided clarity in this area of the law: “the mere insertion

  of a key into a lock, by an officer who lawfully possesses the key and is in a location

  where he has a right to be, to determine whether the key operates the lock, is not a

  search.” Salgado, 250 F.3d at 456; see also Stewart, 315 F. App’x at 560 (same); Lyons,

  898 F.2d 210. Officers, pursuant to the above analysis, lawfully possessed the keys and

  the lock. SA Moore was inarguably in a location where he had a right to be. [Harvey




                                               16
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 17 of 31 - Page
                                         ID#: 249



  certainly does not contest that discrete point.] Accordingly, Moore’s insertion of a key

  into the retained lock was not a search and thus did not violate the Fourth Amendment.

             3. Searches of the Yukon and Caprice

          Next, the Court addresses the searches of the Yukon and Caprice,5 which the

  automobile exception legitimizes. Under the automobile exception, “[i]f a car is readily

  mobile and probable cause exists to believe it contains contraband, the Fourth

  Amendment . . . permits police to search the vehicle without more.” Labron, 116 S. Ct. at

  2487.

          First, each vehicle was “readily mobile.” Each was capable of moving, all the

  requirement demands. Graham, 275 F.3d at 511; Howard, 489 F.3d at 494; Brookins, 345

  F.3d at 238. Harvey had driven the Yukon around Lexington earlier that same day, and

  the Caprice was parked on the street, parallel to the curb, ostensibly ready to be driven at

  any time. Page directly testified that the Caprice appeared mobile, and the video (which

  the Court viewed during the hearing) undoubtedly showed a Caprice on all four wheels

  that appeared capable of movement; Harvey certainly presented no contrary evidence. An

  inquiry into the defendants’ proximity to the vehicles at the time—which defense counsel

  urged—has no place in the ready mobility analysis, which probes solely the vehicle’s

  inherent potential for movement.

          Second, probable cause existed to believe each vehicle contained contraband. An

  “alert by a properly trained and reliable drug-detection dog is sufficient to establish

  probable cause for the presence of a controlled substance.” Winters, 782 F.3d at 304; see
  5
    The extent to which Harvey challenges the Caprice search is frankly unclear, from the
  briefing. See, e.g., DE ##20, at 1 (Harvey seeking suppression of “[a]ll items seized from
  Harvey’s GMC Yukon”); 31, at 4 (Harvey stating that the Caprice is “not his” but that “if
  it was,” he’d seek suppression). The Court includes the Caprice in its analysis for
  completeness.
                                              17
Case: 5:17-cr-00086-DCR-MAS            Doc #: 54 Filed: 09/11/17           Page: 18 of 31 - Page
                                           ID#: 250



  also, e.g., Sharp, 689 F.3d at 618-19 (same). As with any probable cause analysis, a court

  employs the totality-of-the-circumstances when evaluating a dog’s credentials and

  reliability. Harris, 133 S. Ct. at 1056. Bo, whom the uncontradicted proof indicates is

  properly certified by a bona fide organization and who regularly, recently, and

  successfully completed controlled training, positively alerted to narcotics odor at both

  vehicles, providing a full basis for a search. See Winters, 782 F.3d at 304; Harris, 133 S.

  Ct. at 1057 (“If a bona fide organization has certified a dog after testing his reliability in a

  controlled setting, a court can presume (subject to any conflicting evidence offered) that

  the dog’s alert provides probable cause to search. The same is true, even in the absence of

  formal certification, if the dog has recently and successfully completed a training

  program that evaluated his proficiency in locating drugs.”).6 The record and Hart’s

  testimony establish Bo’s certifications and qualifications, and the Court finds Bo to be

  properly trained, reliable, and fully qualified to accurately alert to the presence of the

  odor of controlled substances. Bo has passed muster before. See, e.g., United States v.

  Johnson, No. 5:16-CR-44-DCR-REW, 2016 WL 3693327, at *11 (E.D. Ky. June 30,

  2016), adopted by 2016 WL 4154345 (E.D. Ky. Aug. 5, 2016). Hart’s credentialing

  testimony stands alone and validates Bo as a suitable probable cause indicator. The

  totality of the evidence clearly establishes that Bo is a reliable and certified drug




  6
   There were hints—though no actual argument—at the suppression hearing that defense
  counsel would attempt to denigrate Bo’s reliability through the canine’s positive alert at
  R7006, when no controlled substances were actually located in that unit. Counsel never
  actually attempted this, but any such effort would plainly fail. Bo alerts merely to the
  odor of narcotics, which may endure post-narcotics-removal from an area. There is no
  basis to doubt Bo’s reliability based on his positive alert to unit R7006.
                                                18
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 19 of 31 - Page
                                         ID#: 251



  detection dog. Accordingly, per this analysis, law enforcement’s searches of the Yukon

  and Caprice fit within the automobile exception and did not violate the Constitution.7

         C. Washington’s Motion8

             1. Temporary Detention as Officers Arrest Harvey

         As to Defendant Washington, the Court first addresses law enforcement’s

  authority to temporarily detain him as officers arrested Harvey. Law enforcement had

  such authority: “police have the limited authority to briefly detain those on the scene,

  even wholly innocent bystanders,” as officers effectuate an arrest. Cherrington, 344 F.3d

  at 638 (citing Summers, 101 S. Ct. at 2595). Indeed, “[w]here an individual is in an area

  immediately adjoining the arrestee, the individual may be placed in temporary protective

  detention even in the absence of probable cause or a reasonable suspicion that the

  individual poses a threat to officer safety.” Kinzalow, 236 F. App’x at 418. “[T]he

  governmental interest in securing the area around [an] arrestee and protecting officers

  from potential danger is sufficient to justify the temporary detention of [a] bystander.”

  Maddox, 388 F.3d at 1363. “[E]ven absent particularized reasonable suspicion, innocent

  bystanders may be temporarily detained where necessary to secure the scene of a valid

  search or arrest and ensure the safety of officers and others.” Bletz v. Gribble, 641 F.3d

  743, 755 (6th Cir. 2011). “Inherent in” such authorization “is the authority to use

  reasonable force to effectuate the detention.” See Muehler v. Mena, 125 S. Ct. 1465, 1470


  7
    Defense counsel also argued at the evidentiary hearing that Arizona v. Gant, 129 S. Ct.
  1710 (2009), controls this issue. That is simply wrong. Gant involved application of the
  search incident to arrest doctrine in the vehicular context, not application of the
  automobile exception.
  8
    Washington raises no argument regarding his statement to Page concerning his criminal
  history; the basis for continued detention post-frisk, post-firearm-seizure, or post-Harvey-
  arrest-completion; or his probable cause arrest. The Court confines its analysis to the
  issues Washington (giving a liberal construction) actually presents.
                                              19
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17            Page: 20 of 31 - Page
                                          ID#: 252



  (2005) (concluding the use of handcuffs was reasonable). Based on these principles and

  cases, the Court easily concludes that law enforcement acted validly here in detaining

  Washington (including ordering him to the ground and applying handcuffs),9 as a person

  in an area directly adjoining the scene of active-dealer Harvey’s arrest, without suspicion

  of criminal activity on Washington’s part, for purposes of officer safety, as officers

  arrested Harvey.10 Cf., e.g., Burchett v. Kiefer, 310 F.3d 937, 943 (6th Cir. 2002)

  (“Detaining such individuals prevent[s] flight, minimize[s] the risk of harm to officers

  and others, and facilitate[s] the orderly completion of the search.”).

             2. Frisk

         Finally, the Court addresses the legality of law enforcement’s frisk of

  Washington, which led to discovery of the firearm on his person.11 In many ways, this is


  9
    Defendant mounts no challenge to any particular element or type of force used. Indeed,
  defense counsel conceded at the evidentiary hearing that police “maybe” could validly
  order Washington to the ground and “probably” could handcuff him “for the safety of the
  officers.” See Audio File KYED-LEX__5-17-CR-86-DCR-REW-1,2_20170905_095929,
  at 1:43:20-1:44:00. Counsel particularly isolated officers “going over there and patting
  [Washington] down” as the police action that offended the Constitution. Id.
  10
     This is different from United States v. Bell, 762 F.2d 495 (6th Cir. 1985), which
  defense counsel cited at the hearing and the Court addresses in more detail below. Bell
  indeed did reject an “automatic companion” rule that would permit an automatic Terry
  frisk of all companions of an arrestee. The temporary detention that cases allow in this
  context differs from a Terry frisk, which the Court addresses next.
  11
      In DE #18, Washington sought suppression of “all evidence discovered by law
  enforcement on his person on June 20, 2017, the date of his arrest.” DE #18, at 1.
  Textually, that broad statement encompasses more than suppression of the firearm—
  including, e.g., the digital scales and an amount of United States currency located
  elsewhere on his person. The scales and cash are not particularly part of any defensive
  briefing argument and were not part of argument at the evidentiary hearing. Page testified
  that he discovered the scales and cash only after conducting a “search” of Washington’s
  person following discovery of his criminal history—i.e., that officers did not discover the
  items during the Terry patdown. Any suppression effort vis-à-vis the scales and cash
  would raise a host of issues unaddressed in the briefing and at the hearing. The Court
  considers only what the parties have presented, which here does not fairly include
  consideration of suppression merits regarding the scales and cash. Those pieces might not
  be relevant to Count 2 anyway, but the Court does not decide that.
                                               20
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17           Page: 21 of 31 - Page
                                          ID#: 253



  the closest issue either motion presents. The Court perceives the issue to be whether law

  enforcement, during the lawful Harvey-arrest-based temporary detention of Washington,

  developed reasonable suspicion that Washington was armed and dangerous, so as to

  permit a “Terry patdown” or “Terry frisk.”12

         Officers have several “independent bases to search for weapons and protect

  themselves from danger,” for officer safety is a “legitimate and weighty” concern.

  Knowles v. Iowa, 119 S. Ct. 484, 488 (1998). As one example, they may “perform a

  ‘patdown’ of a [person] upon reasonable suspicion that [he] may be armed and

  dangerous.” Id. (citing Terry, 88 S. Ct. 1868). Indeed, the Supreme Court recently

  confirmed that, if the detention basis is lawful, an officer may “proceed . . . to a frisk” if

  he “harbor[s] reasonable suspicion that the person subjected to the frisk is armed and

  dangerous.” Arizona v. Johnson, 129 S. Ct. 781, 784 (2009); see also, e.g., Ybarra v.

  Illinois, 100 S. Ct. 338, 343 (1979); United States v. Noble, 762 F.3d 509, 521-22 (6th

  Cir. 2014); United States v. Johnson, 246 F. App’x 982, 986 (6th Cir. 2007); United

  States v. Richardson, 700 F. Supp. 2d 1040, 1048 (N.D. Ind. 2010) (describing the first

  condition as whether the defendant’s “temporary detention” is “lawful”); United States v.

  Dorlette, 706 F. Supp. 2d 290, 298 (D. Conn. 2010) (“[T]he Supreme Court has permitted




  12
     The Court does not perceive that officers had reasonable suspicion that Washington
  had been involved in criminal activity, at the time of the frisk. There is no suggestion that
  his simple possession of a firearm—without knowledge of his criminal history (which
  Hart did not know at the time of the frisk)—was itself a crime, see Northrup v. City of
  Toledo Police Dep’t, 785 F.3d 1128, 1132-33 (6th Cir. 2015), and officers readily
  admitted on the stand that they observed no illegality while Washington accompanied
  Harvey during the afternoon of June 20. Law enforcement could point to no facts that
  Washington himself was involved in the drug trade.
                                               21
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17          Page: 22 of 31 - Page
                                          ID#: 254



  conduct—usually, but not always, a frisk—based on a concern for officer safety only

  after an otherwise lawful seizure has occurred.” (emphasis in original)).13

         Here, per the prior analysis, the basis for Washington’s temporary detention

  during the Harvey arrest was valid—i.e., his temporary seizure at the scene of Harvey’s

  arrest was lawful. Police, properly moving to arrest Harvey, also encountered and had to

  account for his associate Washington in the same immediate space. The question then

  becomes whether law enforcement developed reasonable suspicion that Washington was

  armed and dangerous. “Reasonable suspicion is based on the totality of the

  circumstances, and it exists if a reasonably prudent person in the circumstances would be

  warranted in the belief that his or her safety or that of others was in danger. This standard

  is an objective one.” Noble, 762 F.3d at 521-22 (internal quotation marks, alterations, and

  citations omitted). “Reasonable suspicion is more than an ill-defined hunch; it must be

  based upon a particularized and objective basis[.]” Collazo, 818 F.3d at 257. The

  “standard is less demanding than the probable-cause standard.” Id.

         The Court begins with the baseline that, when considering Washington’s

  statement to Hart that he (Washington) had a weapon on his person, law enforcement

  certainly had reasonable suspicion to believe that Washington was armed. Indeed,

  Washington had just told them so.

         What about, though, reasonable suspicion that Washington was dangerous? The

  Sixth Circuit has made it clear that carrying a firearm alone does not automatically
  13
     See also, e.g., Bennett v. City of Eastpointe, 410 F.3d 810, 841 (6th Cir. 2005)
  (“Counsel may shout ‘officer safety’ until blue-in-the-face, but the Fourth Amendment
  does not tolerate, nor has the Supreme Court or this Court ever condoned, pat-down
  searches without some specific and articulable facts to warrant a reasonable officer in the
  belief that the person detained was armed and dangerous.”); United States v. Bearden,
  213 F. App’x 410, 416 (6th Cir. 2007) (“The concern for officer safety is not a Fourth
  Amendment carte-blanche, but the safety of officers is of very high importance[.]”).
                                               22
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 23 of 31 - Page
                                         ID#: 255



  indicate dangerousness. Northrup, 785 F.3d at 1132; see also United States v. Robinson,

  846 F.3d 694, 709-10 (4th Cir. 2017) (en banc) (Harris, J., dissenting) (including the

  Sixth Circuit, citing Northrup, in a list of courts, “against a backdrop of state laws that

  routinely permit the public possession of firearms,” that hold “that a Terry frisk requires

  reasonable suspicion that a person is both armed and a danger to the safety of officers or

  others” (internal quotation marks removed)). On these facts, and although the Court

  considers the issue a relatively close call, the Court concludes that law enforcement did

  have reasonable suspicion to believe Washington was also dangerous.

         Consider what Hart knew at the time he frisked Washington:

         (1) Hart knew or reasonably perceived that Washington was a close associate of

             Harvey, having potentially spent the better part of an afternoon driving around

             Lexington with the known drug dealer. At the very least, Hart knew that

             Washington was an associate of Harvey’s, having arrived in the same vehicle

             with Harvey at Harvey’s residence. Law enforcement could not say with

             certainty that Washington had accompanied Harvey during the full

             afternoon—only that an unidentified black man did—but SA Moore

             confirmed on the stand that officers had no reason to suspect the associate

             accompanying Harvey during the afternoon was anyone other than

             Washington, who ultimately arrived at the house with Harvey.

         (2) Hart knew that Harvey, in addition to actively distributing heroin in

             Lexington, had previous convictions for firearm and drug offenses, and that

             officers had observed Harvey with a firearm on his person just months prior.




                                              23
Case: 5:17-cr-00086-DCR-MAS             Doc #: 54 Filed: 09/11/17       Page: 24 of 31 - Page
                                            ID#: 256



             Hart’s 25 years of training and experience, as he confirmed on the stand, told

             him that associates of armed drug dealers likely are themselves armed.

         (3) Hart knew that Washington had arrived at Harvey’s residence with Harvey

             and that officers had seen the pair make several trips in and out of the Audi in

             the driveway.

         (4) Once detained during Harvey’s arrest, Washington provided the key detail

             that he, in fact, was armed, confirming what Hart’s training and experience

             told him was likely the case.

         Again, the reasonable suspicion analysis turns on the totality, and it is an

  objective test. Would a reasonably prudent officer in Hart’s circumstances be warranted

  in the belief that his or her safety or that of others was in danger? The Court answers that

  question, in these circumstances, affirmatively. A reasonably prudent officer, dealing

  with a fast-developing (the Court viewed the video for itself at the evidentiary hearing)

  scene of a probable cause arrest of a large-scale heroin trafficker, previously observed

  carrying a firearm, would be warranted in the belief that an associate of that drug dealer

  (Washington), who confirmed having a weapon on his person, mere steps away from the

  arrest scene, represented a danger.

         Again, the Court does not purport to endorse “that an individual may be frisked

  based upon nothing more than an unfortunate choice of associates.” Bell, 762 F.2d at 499;

  see also id. at 499 n.4. Here, though, law enforcement had more than simply

  Washington’s associational choice—they had (1) a close relationship, likely surveilled

  throughout June 20 (and, at the very least, an association close enough for the two men to

  arrive at Harvey’s residence in the same vehicle and enter the home), with a known drug



                                               24
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 25 of 31 - Page
                                         ID#: 257



  dealer (with confirmed large quantities of heroin found in a storage unit associated with

  him that very day); (2) several trips in and out of the vehicle once both individuals

  arrived at Harvey’s residence; (3) Harvey’s prior observed firearm possession and

  criminal history that included firearm-related offenses; and (4) most critically,

  Washington’s admission to possessing a weapon. See, e.g., id. at 500 (favorably citing

  Cherry’s “close association with [a co-defendant], who was known to traffic in

  handguns” as a factor supporting reasonable suspicion). Officers’ “general experience,”

  including that “weapons might be involved” when dealing with drug dealers are to be

  credited and given “due weight.” Id. Indeed, Hart “was not obliged to ignore the fact that

  [Washington] was in the company of a man known to be potentially armed and dangerous

  in assessing the potential risk posed by [Washington] himself.” Id. at 501. “[T]he fact of

  companionship, while not itself justifying a frisk, [i]s permissibly considered in analyzing

  whether there was reasonable cause to believe that [Washington] was potentially armed

  and dangerous.” Id.; see also, e.g., United States v. Lyons, 733 F.3d 777, 782 (7th Cir.

  2013). Police, simply put, “need not ignore the insights gleaned from their experience on

  the beat.” United States v. Grogins, 163 F.3d 795, 798 (4th Cir. 1998). Hart’s insights

  here—based on 25 years of law enforcement experience—told him that associates of drug

  dealers would likely be armed, and “police c[an] reasonably infer that [Harvey] may have

  transferred his predilection for violence to others[.]” Id. at 799. The Court concludes,

  considering the totality of these quite specific circumstances, that law enforcement had

  particularized, reasonable suspicion that Washington was armed, and also dangerous,

  legitimizing the frisk and subsequent discovery of the firearm.14 Having a gun is one


  14
         The Court concludes by again emphasizing that this case represents a somewhat
  close call on the individualized and particularized reasonable suspicion analysis. Either
                                              25
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 26 of 31 - Page
                                         ID#: 258



  thing. Having a gun in the company of a known heroin trafficker, in circumstances

  indicative of an intimate association, is another, and an intrinsically more dangerous

  context. Add to that the arrest situation and dynamic. Hart saw an “absolute” safety

  component, and the Court agrees. It would be dangerous indeed for police, in a

  circumstance with these particulars, to be allowed to detain an arrest bystander and yet

  not be able to disarm such a bystander also known to be armed.

         This leaves one final topic to briefly discuss—the propriety of considering

  Washington’s weapon-possession statement—which potentially implicates Miranda15


  an associational choice or firearm possession alone and separately, the Sixth Circuit
  instructs, does not amount to reasonable suspicion, but the Court concludes, for the
  reasons stated, that the totality here coalesces to cross the low reasonable suspicion
  threshold.
          The Court, though, explicitly cautions law enforcement in general that a blanket,
  indiscriminate policy of patting down individuals merely physically present at an arrest
  scene—or individuals merely accompanying a known drug dealer—or individuals who
  admit mere firearm possession—all without more—does not comport with the Fourth
  Amendment, which, as the cases cited demonstrate, demands a particularized analysis.
  The Court views Hart, in this case, as coming near to articulating an “automatic
  companion” rule of his own on the stand; in fact, he admitted in response to a question
  from the Court that he “believe[d]” he would have patted Washington down regardless of
  his answer to the weapon possession question—a hypothetical circumstance that would
  make this already difficult fact pattern considerably more so. See Audio File KYED-
  LEX__5-17-CR-86-DCR-REW-1,2_20170905_095929, at 36:41 (The Court: “Was he
  going to be patted down regardless?” Hart: “I believe so, yes sir.”); see also id. at 35:00
  (Hart: “Any time somebody’s with them [a drug trafficker], generally one goes hand in
  hand with the other [referring to controlled substances and firearms].” (emphasis added));
  DE #20-3 (DEA Report indicating “Washington was patted down for weapons” simply as
  part of (“[d]uring”) “his detainment” (one instance of all caps removed)). Officers had no
  suspicion of Washington committing a crime, and the cases demand they justify a
  patdown with specific and articulable facts amounting to reasonable suspicion that the
  subject is armed and dangerous. Umbrella, indiscriminate policies or practices, in the
  circumstances, do not suffice. TFOs operating in Kentucky, such as Hart, should take
  particular heed of the difference in applicable state and federal law on the subject.
  Kentucky adopted a variant or limited version of the “automatic companion” rule, see
  Owens v. Commonwealth, 291 S.W.3d 704, 709 (Ky. 2009), while the Sixth Circuit
  rejected it.
  15
     Miranda v. Arizona, 86 S. Ct. 1602 (1966) (holding that “the prosecution may not use
  statements, whether exculpatory or inculpatory, stemming from custodial interrogation of
                                              26
Case: 5:17-cr-00086-DCR-MAS            Doc #: 54 Filed: 09/11/17           Page: 27 of 31 - Page
                                           ID#: 259



  issues. The Court hesitates to even broach the topic, since Miranda went uncited in the

  briefs and unargued at the evidentiary hearing. However, counsel did question law

  enforcement on whether Mirandizing occurred, and the Court considers touching on the

  issue as necessary to a full and fair analysis.

         Miranda “set forth rules of police procedure applicable to ‘custodial

  interrogation.’” Oregon v. Mathiason, 97 S. Ct. 711, 713 (1977) (per curiam). Each

  element of that phrase—custody and interrogation—has particular meaning under

  Miranda. For Miranda purposes, “custody is a term of art that specifies circumstances

  that are thought generally to present a serious danger of coercion. In determining whether

  a person is in custody in this sense, the initial step is to ascertain whether, in light of the

  objective circumstances of the interrogation, a reasonable person would have felt he or

  she was not at liberty to terminate the interrogation and leave.” Howes v. Field, 132 S. Ct.

  1181, 1189 (2012) (internal quotation marks, citation, and alteration removed). Likewise,

  Miranda “interrogation” has a particularized meaning: as relevant here, “express

  questioning . . . that the police should know [was] reasonably likely to elicit an

  incriminating response[.]” Rhode Island v. Innis, 100 S. Ct. 1682, 1689 (1980). “A

  practice that the police should know is reasonably likely to evoke an incriminating

  response from a suspect thus amounts to interrogation.” Id. at 1690. To be sure, “police

  officers are not required to administer Miranda warnings to everyone whom they

  question.” Mathiason, 97 S. Ct. at 714 (no italics in original). A defendant seeking

  statement suppression has the burden of establishing custodial interrogation. See United




  the defendant unless it demonstrates the use of procedural safeguards effective to secure
  the privilege against self-incrimination”).
                                                27
Case: 5:17-cr-00086-DCR-MAS         Doc #: 54 Filed: 09/11/17         Page: 28 of 31 - Page
                                        ID#: 260



  States v. Rodriguez–Suazo, 346 F.3d 637, 643 (6th Cir. 2003) (quoting United States v.

  Feldman, 606 F.2d 673, 679 n.11 (6th Cir. 1979)).

         Here, at a minimum, and without the benefit of adversarial briefing or argument,

  the Court concludes that Hart’s question to Washington about weapon possession was not

  an “interrogation” for Miranda purposes.16 Hart had no basis for knowing that asking

  Washington—a man, remember, whose identity and criminal history Hart did not

  know—if he (Washington) had a weapon on his person, in the fast-paced setting of

  officers securing an arrest scene, was reasonably likely to elicit an incriminating

  response. Cf., e.g., United States v. Woods, 711 F.3d 737, 742 (6th Cir. 2013) (holding

  that the question, “What is in your pocket?” was not intended to elicit incriminating

  information); United States v. Robinson, 217 F. App’x 503, 509 (6th Cir. 2007)

  (“Defendant’s statements about the locations of the firearms were made in response to

  brief questioning that was done for the limited purpose of the officers’ safety.”)

  (affirming no-Miranda-violation conclusion); United States v. Williams, 483 F.3d 425,

  428 (6th Cir. 2007) (“[W]hen officers ask questions necessary to secure their own safety

  or the safety of the public as opposed to questions designed solely to elicit testimonial

  evidence from a suspect, they do not need to provide the warnings required by Miranda.”

  (internal quotation marks removed)); United States v. Durrah, 384 F. App’x 970, 972

  (11th Cir. 2010) (“Durrah’s statements at the arrest site were not made in response to

  custodial interrogation.”).

         Indeed, firearm possession—alone—is not criminal activity, and Hart knew

  nothing of the man later identified as Washington’s criminal history at the time of the
  16
     It is thus unnecessary to evaluate whether Washington was in “custody” for Miranda
  purposes. Even assuming he was in custody, the conclusion as to “interrogation” suffices
  to resolve the possible Miranda issue.
                                             28
Case: 5:17-cr-00086-DCR-MAS           Doc #: 54 Filed: 09/11/17          Page: 29 of 31 - Page
                                          ID#: 261



  question. Hart’s question was, thus, not designed to incriminate Washington; rather, it

  was designed to probe possible bases for officer danger and enable Hart to act in

  furtherance of ensuring officer safety. Bachynski v. Stewart, 813 F.3d 241, 246 (6th Cir.

  2015) (stating that interrogation includes questioning “designed to ferret out the suspect’s

  involvement in the case” or designed “to obtain a response to use at trial”); United States

  v. Sydnor, No. 16-21-ART-HAI-(2), 2017 WL 772341, at *4 (E.D. Ky. Feb. 28, 2017);

  United States v. Williams, 272 F. App’x 473, 478 (6th Cir. 2008) (“Davis’s question was

  not posed as an investigatory interrogation, but rather as an attempt to prevent Williams

  from gaining access to a dangerous weapon.”); United States v. Miles, 82 F. Supp. 2d

  1201, 1211 (D. Kan. 1999) (“Officer Cochran’s question ‘Whose gun is this?’ was not

  interrogation within the meaning of Miranda.” Instead, “the question primarily served a

  legitimate investigatory purpose wholly apart from an attempt to elicit an incriminating

  statement from Miles.”); United States v. Duncan, 308 F. App’x 601, 612 (3d Cir. 2009)

  (“When an officer asks just one question directed at uncovering the threat and then stops,

  . . . [t]his indicate[s] that the officer’s question sought to eliminate a threat, not obtain

  evidence.”); United States v. Webster, 162 F.3d 308, 332 (5th Cir. 1998) (“[P]olice acted

  constitutionally when they asked Webster whether he had any needles in his pockets that

  could injure them during their pat down; such questioning, needed to protect the officers,

  does not constitute interrogation under Miranda[.] Accordingly, Webster’s response,

  indicating that he had marihuana in his pocket, was not obtained in violation of Miranda

  and was fully admissible.”); United States v. Everett, 601 F.3d 484, 494-95 (6th Cir.

  2010) (endorsing that officers “may inquire about dangerous weapons” during temporary

  detention due to the “legitimate and weighty” interest of “the safety of the officer”).17 Per
  17
       Additionally, the Court notes, without analyzing applicability (due to the parties’
                                               29
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 30 of 31 - Page
                                         ID#: 262



  these cases and principles, the Court concludes that Hart asking Washington, with no

  knowledge of Washington’s criminal history, during the course of detaining Washington

  on the scene of a probable cause arrest of an associated drug dealer, if Washington had a

  weapon on him, was not an “interrogation” for Miranda purposes. It was not a question

  Hart knew, or should have known, was reasonably likely to elicit an incriminating

  response; rather, it was a question, as Hart himself emphatically confirmed on the stand,

  tailored specifically to ensuring officer safety in the fluid dynamic of the probable cause

  arrest of a large-scale drug dealer. Accordingly, Miranda does not bar the answer’s use,

  and the Court properly considers it.

  III.   CONCLUSION

         Per the above analysis, law enforcement acted within the bounds of the law in all

  respects in this case.18 The Court thus RECOMMENDS that the District Judge wholly

  DENY the joint effort to suppress (DE ##18, 20).

                                         *   *   *    *   *

         The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning

  this recommendation, issued under subsection (B) of that statute. As discussed at the

  hearing, and to maintain each Defendant’s current schedule, Defendant Harvey must file

  any objection(s) by September 13, 2017, with any response(s) due by September 14,

  2017. Defendant Washington must file any objection(s) by September 18, 2017, with

  complete paucity of consideration of this topic), the Miranda public safety exception,
  which perhaps could apply here to legitimize the weapon-possession question, even if
  Hart did violate Miranda. See, e.g., Williams, 483 F.3d at 428-29.
  18
     Because the Court so concludes, it need not engage in a separate analysis of the
  propriety of suppression (or any possibly applicable exceptions). Because law
  enforcement acted within the law in this case, there is no improperly obtained evidence to
  exclude and no deliberate, reckless, or grossly negligent police conduct to deter. See
  Davis v. United States, 131 S. Ct. 2419, 2427-28 (2011); Herring v. United States, 129 S.
  Ct. 695, 702 (2009).
                                                 30
Case: 5:17-cr-00086-DCR-MAS          Doc #: 54 Filed: 09/11/17          Page: 31 of 31 - Page
                                         ID#: 263



  any response(s) due by September 21, 2017. The parties should consult the statute and

  Federal Rule of Criminal Procedure 59(b) for specific appeal rights and mechanics.

  Failure to object in accordance with the Rule waives a party’s right to review.

         This the 11th day of September, 2017.




                                              31
